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                      Case No.IS-#I784-CIV-M IDDLEBRO OKSY M NNO N

  M ARK IS PIERRE,

         Plaintiff,



  PASHA, LLC,d/b/a GANEE STON E, a Florida
  lim ited liability company,

         D efendant.
                                                       /

            O RDER GM NTING M O TIO N FOR APPROVAL OF SETTLEM ENT

          THIS CAUSE com es before the Courtupon the Parties'JointM otion to Review and

  ApproveSettlementandDismissActionwithPrejudice,tsledApril28,2016.(DE 29).Plaintiff
  initiated thisaction on December31,2015,alleging violations ofthe Fair LaborStandardsAct,

  29 U.S.C.j20letseq.($1FLSA''). The Partiesnow advisethe Courtthattheyhavesettled a11
  claim sin thisaction,and movefordismissal.
          W hen aprivateaction isbroughtundertheFLSA and issubsequently settled,%çthe district

  courtmay entera stipulatedjudgmentafterscrutinizing the settlementfor faimess.'' Lynn'
                                                                                       s
  Food Stores,Inc.v.United States,679 F.2d 1350,1353 (11th Cir. 1982) (internalcitations
  omitted). ln scrutinizing the settlement for fairness,a courtmustdetennine whether the
  settlementisadifairand reasonable resolution ofa bonafide dispute overFLSA provisions.''Id

  at1355. W hiletheprovisionsoftheActare mandatory,theEleventh Circuithasrecognized that

  therem ay be bona fidedisputesasto FLSA coverage and therefore,a districtcourtm ay approve

   a settlem entto ktprom ote the policy ofencouraging settlem entoflitigation.'' 1d.at 1354. W here,

   ashere,thesettlementagreem entwasentered into in an adversarialcontextand both sideswere
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  represented by counselthroughout the litigation,the settlem ent agreementis ilmore likely to

  reflecta reasonablecompromise overissues.'' 1d.

         Upon areview oftheParties'SettlementAgreement(DE 29-1),theCourtfindsthatthe
  settlem entisa fairand reasonablearm s-length resolution oftheParties'dispute. Accordingly,

  itis hereby

         ORDERED AND ADJUDG ED that:

                TheM otiontoApproveSettlement(DE 29)isGRANTED.
                The Parties' Settlement Agreement (DE 29-1) is fair and reasonable and is
                APPR O V ED .

                ThiscaseisDISM ISSED withprejudice.
                A1lpendingm otionsare hereby DENIED AS M O OT;and

                TheClerk ofCourtshallCLO SE THIS CASE.

         DONE AND ORDERED in Chambers atWestPalm Beach,Florida thisZ F day of
  April,2016.




                                                    DONALD M .M IDDLEBROOKS
                                                    UN ITED STATES DISTRICT JUDGE

  Copiesto:     CounselofRecord
